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JACOB C. AND JEANETTA STEVENS SPRINGER
    Appellants,Pro se
v.                                                             :17-cv-00693-ECM-WC
WELLS FARGO BANK,NA., et. al
                                            2071 JUL 1 Li P 12: 0
Appellees
                                                    VACKETT. CLK
                                            !J.           CO.Uf;T
                                                       '.T2:1- ALA

  JACOB AND JEANETTA SPRINGER'S RESPONSE TO THE CLERK'S

                                       LETTER

     , Based on the letter sent by your office, the facts show that it was mandatory

for Judge Marks to recuse herself in our trial. Moreover, while Judge Marks states

that her ownership in Wells Fargo was a part of a managed account, she does not

allege that it was part of a blind trust. This means that while she was not passively

investing in the stock she could have been informed of her ownership at any time.

In fact, the letter that your office sent simply says that it was brought to her attention

that she had ownership in the stock. It does not say when the ownership was brought

to her attention.

       These facts alone would constitute enough grounds for Judge Marks to recuse

herself since this is extra-judicial activity (ownership in a Defendant's stock) and it

is the type of information that would tend to cause an objective, disinterested

layperson informed of the fact that Judge Marks owned such stock to reasonably



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question and/or doubt the Judge's impartiality. Furthermore, the evidence tends to

show that Judge Marks was partial to Wells Fargo.

      Had we known ofthe Judge's ownership ofthis stock we most certainly would

have filed a motion to have the Judge recuse herself. On needs to look no further

than the fact that we sought to have the Magistrate Judge recuse himself based on

bias with less evidence than the evidence available showing Judge Mark's potential

bias. The Judge's appearance of bias would have made us concerned about her

objectivity as it relates to adopting Magistrate Judge Capel's report and

recommendation.

      For example, although Judge Marks allegedly stated that her stock ownership

did not affect her decision, an objectively reasonable layperson could argue that a

non-interested Judge may have afforded Plaintiffs, acting as Pro se litigants, the

opportunity to amend our pleadings to state a claim upon which relief could have

been granted as opposed to agreeing with the Magistrate Judge's decision that our

complaints were not capable of being crafted into viable claims.

      For instance, the Magistrate Judge's decision was based on his construction

of Plaintiffs complaint. The question then becomes could a different District Judge

have found that by allowing Plaintiffs to amend our complaint that a different

construction of Plaintiffs claims would have been made, including but not limited
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to, alleging totally different claims that are not subject to Rooker-Feldman or Res

Judicata doctrines.

      As an example, Plaintiffs could have theoretically amended our complaint to

allege breach of contract and fraud claims that would not require the State Court

judgement to be nullified nor would the success of such a complaint require that the

success ofthese claims would "effectively nullify" the state courtjudgment. Without

committing to a certain set of allegations, if our complaint were to allege that Wells

Fargo sold the property at a surplus and failed to inform us ofthat fact and failed to

provide us with the surplus. The mortgage allowed for the sale ofthe property in the

event of a default by us, but it also only authorized the proceeds to be applied to the

debt owed, not to allow Wells Fargo to keep the rest. Success of a breach ofcontract

claim based on this or similar facts would not require this court to nullify the

eviction/ejectment judgment against us. Nor does the success of the claim

"effectively nullify" the eviction claim. The house would still belong to Wells Fargo.

However, compensatory damages,if proven,in the form of money would due to us.

      Also, such a claim of breach of contract limited to the distribution of the

proceeds after the foreclosure sale and eviction do not depend on the same nucleus

of operative facts as the State court judgment. Therefore, it would not be barred by

the doctrine of Res Judicata.



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      These arguments should in no way be perceived to be the only facts, claims,

and arguments that we can make if allowed to amend or complaint. This was set

forth as evidence that a disinterested District Judge could have conceivably refused

to adopt the Magistrates recommendation to dismiss the case with prejudice with

only a footnote (n. 18)stating that objecting to his findings and conclusions within

10 days would achieve the same function as specifically stating to Pro se plaintiffs

that they have the right to amend our complaint prior to any dismissal with prejudice.

While the Magistrate Judge as well as Chief District Judge Marks was within our

right to take this approach, the issue is whether a different disinterested Judge may

have afforded us more rights or the same rights in more clearer language to ensure

that we did not waive that right. Saying you have the right to object to findings of

facts and conclusions oflaw to a reasonable Pro se layperson is not the same and not

as effective as specifically stating that the party would have the right to ainend our

pleadings.

                       REMEDIES AND RELIEF REQUESTED

      The Plaintiffs Pro Se's request that the proper procedure be initiated to have

the appellate court mandate be lifted or rescinded. That after that is done, the

Plaintiffs Pro Se be allowed to amend our complaint at least once as the Eleventh

Circuit case law states. That the Plaintiffs be allowed to rescind our consent to

have the Magistrate Judge decide our case, asserting our right to have an Art. III
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judge decide the case, including pretrial issues, including but not limited to,

conducting any reasonable construction of our complaint(if needed).

      In the alternative to the above, if the appellate court's mandate cannot be

lifted and the case be remanded,the Plaintiffs request/suggest the filing of a Writ

of Mandamus be issued sua sponte ordering Judge Marks to recuse herself, that the

District Court allow the Plaintiffs to file a Motion for Leave of Court to Amend its

Complaint along with the proposed amended Complaint, that the Plaintiffs be

allowed to rescind our consent to Magistrate Judge's determination on the merits,

and that the newly designated District Judge consider the Plaintiffs Motion for

Leave to Amend our complaint. Ifthe Complaint can be amended,the Defendant's

would have the opportunity to respond.




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